      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 1 of 13 PageID #:1




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JOSE VELAZQUEZ, on behalf of himself and
all others similarly situated,
                Plaintiff,                             Case No. 1:12-cv-4209
        vs.
                                                       Judge _______
FAIR COLLECTIONS & OUTSOURCING,
INC.,
          Defendant.
                                                       Jury Demanded

                                 CLASS ACTION COMPLAINT

       Plaintiff JOSE VELAZQUEZ (“Velazquez”), by his counsel, Kenneth M. DucDuong,

and for his Complaint against Defendant FAIR COLLECTIONS & OUTSOURCING, INC.

(“FCO”), to obtain damages, costs of suit, and other suitable relief from Defendant, for its

violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and

the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., states and alleges as

follows:

                                 JURISDICTION AND VENUE

       1.      This Court has original jurisdiction in this action by virtue of 28 U.S.C. § 1331,

because the matter in dispute involves federal laws arising under the FDCPA, 15 U.S.C.

§ 1692(k). This Court has federal jurisdiction over the TCPA claims. See Brill v. Countrywide

Home Loans, Inc., 427 F.3d 446 (7th Cir. 2005).

       2.      Venue is proper in this District under 28 U.S.C. § 1391(b) because the allegations

herein relate to Defendant’s transactions in this District by causing a communication to Plaintiff

within this District, and a substantial cause of action occurred within this district.

                                             PARTIES




                                                   1
      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 2 of 13 PageID #:2




       3.      Plaintiff is a natural person and a consumer who resides in this district.

       4.      Defendant FAIR COLLECTIONS & OUTSOURCING, INC. (“FCO”) was and is

a debt collection agency engaging in providing debt collection services of debts owed to third

parties. FCO is incorporated and registered in the State of Maryland, and located at 12303

Baltimore Avenue #E, Beltsville, MD 20705.

       5.      FCO registered as a debt collection agency in the State of Illinois to conduct debt

collection activity in this state and therefore is a debt collector within the meaning of 15 U.S.C.

§ 1692a(6).

       6.      The purported debt that Defendant FCO attempted to collect from Plaintiff is a

consumer debt for Plaintiff’s personal, household or family purposes as that term is defined

under § 1692a(5) of the FDCPA because the debt allegedly owed arose from rents for Plaintiff’s

apartment.

                                    CLASS ALLEGATIONS

       7.      Plaintiff brings this lawsuit on behalf of himself and all other persons similarly

situated, as members of the proposed Plaintiff’s Class A and B (the “Class”) and, under Rules

23(a), 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure.

       8.      Beginning at least as early as in 2005 or thereabout, the exact date and year being

unknown to Plaintiff, and continuing to the present, Defendant represents hundreds of

companies, condominium associations and homeowners associations in the United States and in

Illinois, including Realty & Mortgage Co., Inc.

       9.      As part of Defendant’s collection business practices, Defendant regularly sends

consumers’ collection letters and dun consumers by telephone calls, which fail to contain certain

required information in violation of the FDCPA and the TCPA.




                                                  2
      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 3 of 13 PageID #:3




       10.      As part of its established debt collection policy and practice, Defendant regularly

used and uses an automated telephone dialing system to place collection calls to Plaintiff and

class members’ cellular phone. Defendant placed these collection calls to cellular phone with

without the called party’s prior express consent.

       11.      This action is brought and may properly be maintained as a class action pursuant

to the Federal Rules of Civil Procedure 23. This action satisfies the numerosity, predominance,

typicality, adequacy, and/or superiority requirements of those provisions. Plaintiff does not

know the exact size of the class. Such information is in Defendant’s possession due to the nature

of the trade and business involved, and the fact that Defendant regularly represented and

presently represents many businesses like Realty & Mortgage Co., Inc., a property management

company, in this action.

       12.      Common questions of law and fact exist as to all members of the class and

predominate over any questions affecting individual members of the class, including Plaintiff,

including but not limited to:

             As to Plaintiff’s TCPA claims,

             a. Whether Defendant used an automated telephone dialing system and/or artificial

                or pre-recorded voice within the meaning of the TCPA;

             b. Whether Defendant without prior express written permission or consent, or absent

                an emergency, placed collection calls to Plaintiff’s and class members’ cellular

                phones to collect a debt; and

             c. Whether such practices violated the TCPA;

             As to Plaintiff’s FDCPA claims,

                a. Whether Defendant’s collection practices violated the FDCPA.




                                                    3
      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 4 of 13 PageID #:4




        13.     On information and belief, Plaintiff believes that there are more than 100

members in the class, and the class members are so numerous and dispersed geographically that

their joinder in this action is impracticable.

                             FACTS COMMON TO ALL COUNTS

        14.     The purported debt as alleged in this Complaint that the Defendant FCO

attempted to collect from Plaintiff is a consumer debt because the debt allegedly owed arose

from a residential lease for his apartment.

        15.     The purported debt was later assigned or referred to Defendant for collection.

        16.     On or about October 25, 2011, Defendant sent Plaintiff a collection letter (the

“initial collection letter”) demanding immediate payment for a purported debt. See Exhibit “A”.

        17.     On or about November 14, 2011, Defendant sent Plaintiff a collection letter (the

“second collection letter”), demanding immediate payment for a purported debt while

threatening to report the purported debt to all national credit reporting agencies. See Exhibit “B”.

        18.     Shortly thereafter, Defendant began calling Plaintiff’s cell phone at (312) XXX-

5262 (the “cellular number”) to collect the purported debt using an automated dialing system.

        19.     Defendant had no prior express written consent or permission from Plaintiff to

call his cellular number to collect a debt.

The Telephone Consumer Protection Act of 1991

        20.     In 1991, Congress enacted the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227, et seq. in response to a growing number of consumer complaints regarding certain

telemarketing practices.

        21.     Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394

(1991), codified at 47 U.S.C. § 227 (TCPA). The TCPA amended Title II of the Communications




                                                 4
      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 5 of 13 PageID #:5




Act of 1934, 47 U.S.C. § 201 et seq. The TCPA regulates, among other things, the use of

automated telephone equipment, or “autodialers.” Specifically, the plain language of Section

227(b)(1)(A)(iii) prohibits the use of autodialers to make any call to a wireless number in the

absence of an emergency or the prior express consent of the called party. 47 U.S.C.

§ 227(b)(1)(A)(iii).

       22.        On January 4, 2008, the Federal Communications Commission (“FCC”) released

a Declaratory Ruling wherein it confirmed that autodialed and prerecorded message calls to a

wireless number by a creditor (or on behalf of a creditor) are permitted only if the calls are made

with the “prior express consent” of the called party. See In the Matter of Rules and Regulations

Implementing the Tel. Consumer Protection Act of 1991, Request of ACA Int’l for Clarification

and Declaratory Ruling (the “FCC Declaratory Ruling”), 23 F.C.C.R. at 564-65 (¶ 10). The FCC

“emphasize[d] that prior express consent is deemed to be granted only if the wireless number

was provided by the consumer to the creditor, and that such number was provided during the

transaction that resulted in the debt owed.” Id.; see also February 12, 2012 Report and Order by

the FCC.

       23.        Automated Dialing Systems, also known as Predictive Dialing Technology, are

commonly used in the Debt Collection industry. See e.g. “The Challenges of Change,” Federal

Trade Commission (2009), http://www.ftc.gov/bcp/workshops/debtcollection/dcwr.pdf.

                           COUNT I—TCPA Violations (Strict Liability)

       24.        Plaintiff re-states, re-alleges, and incorporates by reference all prior paragraphs in

this paragraph.

       25.        Plaintiff brings this action for damages, and other legal and equitable remedies,

resulting from the illegal actions of Defendant in negligently, knowingly, and/or willfully placing




                                                    5
      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 6 of 13 PageID #:6




collection calls to Plaintiff on his cellular telephone without his prior express consent within the

meaning of the TCPA.

       26.        The TCPA provides consumers like Plaintiff a private right of action. 42 U.S.C. §

227(b)(3). Moreover, the TCPA also provides for trebling of damages for willful or knowing

violation of this subsection. Id.

       27.        Plaintiff proposes the following Class definition (Class A), subject to amendment

as appropriate:

       All persons within the State of Illinois who, for the four years prior to the date of filing of
       this Complaint (the “Class A Period”), received a non-emergency telephone call from
       Defendant to his or her cellular telephone through the use of an automated telephone
       dialing system or an artificial or prerecorded voice and who did not provide prior express
       consent for such calls during the transaction that resulted in the debt owed. Excluded
       from the Class are Defendant, FCO and any entities in which Defendant or FCO has a
       controlling interest, Defendant’s and FCO’s respective agents and employees, the Judge
       to whom this action is assigned and any member of the Judge’s staff and immediate
       family, and claims for personal injury, wrongful death and/or emotional distress.

       28.        Section 227(b)(1)(A)(iii) prohibits calls, except emergency calls, to any cellular

phone service or any services for which the called party is charged for the call without prior

express consent from the called party. 47 U.S.C. 227(b)(1)(A)(iii).

       29.        Beginning November 2011, Defendant placed telephone calls using a pre-

recorded or artificial message to Plaintiff’s cellular number. The purpose of these calls was to

collect a purported debt.

       30.        As part of its established policy and practice, Defendant regularly used and uses

an automated telephone dialing system to place pre-recorded collection calls to Plaintiff’s cell

number demanding payment of an allegedly overdue debt, including but not limited to the

following dates: November 6, 8, 23, 26, and 28, and December 7, 2011.

       31.        Defendant places these collection calls to Plaintiff’s cell number (312) XXX-




                                                    6
      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 7 of 13 PageID #:7




5262, which was and is assigned to Plaintiff by a cellular telephone service (Plaintiff’s “cellular

number” or “cell phone”).

       32.     Plaintiff never provided Defendant his cellular number, 312-XXX-5262, during

any transaction giving rise to the purported debt.

       33.     The collection calls as alleged in Paragraph 31 of this Complaint were non-

emergency calls.

       34.     Defendant regularly uses Predictive Dialing Technology or automated telephone

dialing system in its debt collection practice.

       35.     Upon information and belief, Defendant also placed other pre-recorded collection

calls to Plaintiff’s cell phone from a masked or untraceable telephone number.

       36.     Plaintiff did not consent to Defendant to call his cellular number to collect a debt.

       37.     Defendant had no prior established business relationship with Plaintiff before

placing the collection calls to Plaintiff’s cellular number.

       38.     All telephone contact by Defendant to Plaintiff on his cellular telephone occurred

via an “automatic telephone dialing system,” as defined by 47 U.S.C. § 227(a)(1), and all calls

that are the subject of this Complaint occurred within four years of the date of filing of this

Complaint.

       39.     Defendant did not have Plaintiff’s “express consent” allowing Defendant to place

telephone calls to Plaintiff’s cellular number using an “automatic telephone dialing system,”

within the meaning of 47 U.S.C. § 227(b)(1)(A).

       40.     Defendant did not have Plaintiff’s “express consent” allowing Defendant to leave

prerecorded messages on Plaintiff’s cellular number, within the meaning of 47 U.S.C.

§ 227(b)(1)(B).




                                                  7
      Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 8 of 13 PageID #:8




       41.         Defendant’s telephone calls to Plaintiff’s cellular phone using an “automatic

telephone dialing system” for nonemergency purposes, in this case for debt collection, and in the

absence of Plaintiff’s prior express consent violated 47 U.S.C. § 227(b)(1)(A).

       42.         Under the TCPA and pursuant to the FCC’s January 2008 Declaratory Ruling, the

burden is on Defendant to demonstrate that Plaintiff provided express consent within the

meaning of the statute. See FCC Declaratory Ruling, 23 F.C.C.R. at 565 (¶ 10).

       43.         Upon information and belief, Defendant, using an automated telephone dialing

system, placed collection calls to more than 100 other cell phones without prior express written

permission or consent from the cell phone’s owners.

       44.         Therefore, Defendant’s collection calls to Plaintiff’s cellular phone were in

violation of 47 U.S.C. 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully prays this Court for a judgment against Defendant

as follows:

              A.      Statutory damages in the amount of $500 for each call placed to Plaintiff’s

                      and class members’ cellular phone;

              B.      Reimbursement of Plaintiff’s reasonable attorney fees and costs; and

              C.      Other and further relief as this Court deems just and proper.

                           COUNT II—TCPA Violations (Willful Liability)

       45.         Plaintiff re-states, re-alleges, and incorporates by references all prior paragraphs

in this paragraph.

       46.         This count is brought on behalf of the same Class A as in Count I.

       47.         TCPA provides for not more than three times of $500 in damages for willful or

knowing violation of the TCPA. 47 U.S.C. 227(b)(3).




                                                     8
         Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 9 of 13 PageID #:9




          48.        Plaintiff and all Class members are also entitled to, and do seek, injunctive relief

prohibiting such conduct violating the TCPA by Defendant in the future.

          49.        Defendant placed collection calls to Plaintiff’s cellular number with the intent to

collect a debt from Plaintiff.

          50.        Defendant’s collection calls to Plaintiff’s cellular phone were not emergency

calls.

          51.        Defendant’s placement of collection calls to Plaintiff’s cellular number are willful

or knowing violations of 47 U.S.C. 227(b)(1)(A)(iii).

          52.        Therefore, Defendant is liable for three times of $500 in damages for each call

placed to Plaintiff’s cellular number.

          WHEREFORE, Plaintiff respectfully prays this Court for a judgment against Defendant

as follows:

                A.      Statutory damages in the amount of $1,500 for each call placed to Plaintiff’s

                        and Class members’ cellular phone;

                B.      Reimbursement of Plaintiff’s reasonable attorney fees and costs; and

                C.      Other and further relief as this Court deems just and proper.

                          COUNT III---FCDPA Violations (15 U.S.C. § 1692g)

          53.        Plaintiff re-alleges, re-states, and incorporates by reference paragraphs 1 through

23 in this paragraph.

          54.        This count is brought on behalf of Class B. Class B is comprised of all persons

who, according to Defendant’s record, meet the following criteria, subject to amendment as

appropriate:

                All persons resided in Illinois and received (1) a form collection letter similar to
                Plaintiff’s initial collection letter and (2) a second collection letter similar to



                                                       9
    Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 10 of 13 PageID #:10




             Plaintiff’s second collection letter within 30 days of the date of the initial collection
             letter. Excluded from Class B are Defendant, any entity in which Defendant has a
             controlling interest, any officers or directors of Defendant, the legal representative,
             heirs, successors, and assigns of Defendant, and any Judge assigned to this action,
             and his or her family; and

             Those persons whose collection letters were sent but were not returned by the postal
             service as undelivered or undeliverable.

       55.      Section 1692g of the FDCPA requires that a debt collector include a validation

notice either with, or within five (5) days of, the initial communication from the debt collector to

the consumer. 15 U.S.C. § 1692g.

       56.      Under the FDCPA, this validation notice must be effectively communicated, and

may not be overshadowed, confounded, or eviscerated by other language or words as seen from

the perspective of the reasonably unsophisticated consumer.

       57.      The collection letter sent to Plaintiff on October 25, 2011, Exhibit A, was the

initial communication from Defendant.

       58.      The collection letter, Exhibit A, stated in bold, larger font size “Payment

Demand – $1624.50” (Bold emphasis in original).

       59.      The collection letter further demands that Plaintiff “[P]ay in full online anytime”

(Bold emphasis in original) placed in a prominent, separate bold text box. Exhibit “A”.

       60.      On November 14, 2011, Defendant sent a second collection letter demanding

immediately payment while threatening to report the purported debt to credit reporting agencies.

       61.      The initial collection letter, in conjunction with the second collection letter sent

on November 14, 2011, overshadowed, confounded, contradicted, and eviscerated the thirty-day

period provided under 15 U.S.C. § 1692g, from the perspective of the reasonably,

unsophisticated consumer like Plaintiff, in violation of the FDCPA.

       WHEREFORE, Plaintiff respectfully prays this Court for a judgment against Defendant



                                                   10
    Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 11 of 13 PageID #:11




as follows:

              A.   Actual or statutory damages, or both, as permitted pursuant to 15 U.S.C.

                   § 1692k.

              B.   Reimbursement of Plaintiff’s reasonable attorney fees and costs; and

              C.   Other and further relief as this Court deems just and proper.

Dated: May 30, 2012                                         Respectfully Submitted,
                                                            JOSE VELAZQUEZ

                                                            By: /s/Kenneth M. DucDuong
                                                                 By and through his Attorney

Counsel for Plaintiff:

Kenneth M. DucDuong
KMD LAW OFFICE
35 E. Wacker Dr., 9th Floor
Chicago, IL 60601
312-854-7006
ARDC # 6286069


                         DOCUMENT PRESERVATION DEMAND

        Plaintiff hereby demands that the defendant(s) takes affirmative steps to preserve all
recordings, data, documents and all other tangible things that relate to plaintiff or the putative
class members, the events described herein, any third party servicing special purpose accounts
belonging to Plaintiff and members of the Class, and any account or number or symbol relating
to any of them. These materials are very likely relevant to the litigation of this claim. This
demand shall not narrow the scope of any independent document preservation duties of the
defendant. Please contact the undersigned if you wish to discuss.

                                      /s/Kenneth M. DucDuong
                                      Kenneth M. DucDuong
                                      One of Plaintiff’s Attorneys

Counsel for Plaintiff:

   Kenneth M. DucDuong
   ARDC# 6286069
   KMD LAW OFFICE
   35 E. Wacker Dr., 9th Fl.
   Chicago, IL 60601
   Tel.: (312) 854-7006



                                                11
    Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 12 of 13 PageID #:12



                                          JURY DEMAND

                         Plaintiff demands a trial by jury on all issues so triable.

                                      /s/Kenneth M. DucDuong
                                      Kenneth M. DucDuong
                                      One of Plaintiff’s Attorneys



Counsel for Plaintiff:

   Kenneth M. DucDuong
   ARDC# 6286069
   KMD LAW OFFICE
   35 E. Wacker Dr., 9th Fl.
   Chicago, IL 60601
   Tel.: (312) 854-7006




                                                 12
    Case: 1:12-cv-04209 Document #: 1 Filed: 05/30/12 Page 13 of 13 PageID #:13



                                        ATTORNEY LIEN

            The undersigned attorney asserts up to 1/3 as attorney lien in this action.

                                     /s/Kenneth M. DucDuong
                                     Kenneth M. DucDuong
                                     One of Plaintiff’s Attorneys



Counsel for Plaintiff:

   Kenneth M. DucDuong
   ARDC# 6286069
   KMD LAW OFFICE
   35 E. Wacker Dr., 9th Fl.
   Chicago, IL 60601
   Tel.: (312) 854-7006




                                                13
